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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                                                CIVIL ACTION NO. 1:18-cv-10819

    DONNA GAVIN,
        Plaintiff,

    v.

    CITY OF BOSTON and MARK HAYES
         Defendants.


  CITY OF BOSTON’S MOTION IN LIMINE TO EXCLUDE NEWS ITEMS,
 OTHER RECENTLY REPORTED EVENTS, AND UNRELATED REPORTS
______________________________________________________________________________

         Now comes the Defendant, City of Boston (the “City”), who hereby moves in

limine to prohibit the plaintiff from offering any and all testimony, documentary

evidence, or referencing at trial topics involving irrelevant, volatile and/or prejudicial

topics, subjects such as police reform, institutional racism, recently-reported news

items regarding the Boston Police Department, including, but not limited to, the

handling of Internal Affairs Division, the hiring and termination of former Police

Commissioner Dennis White, 1 criminal proceedings against any former police officer

and recent protests of the department. In addition, the City requests that Plaintiff

be prohibited from offering in evidence or referencing during trial unrelated reports,

including, but not limited to the dissertation of Lisa Barao (“Barao Report”) (Ex. A)

and the report authored by The Boston Police Reform Task Force, which was chaired

by Attorney Wayne Budd (“Budd Report”) (Ex. B).



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 Mr. White’s lawsuit against the City of Boston is pending before this Court (1:21-cv-
10952-LTS). He is represented by Nicholas B. Carter, counsel for Plaintiff in this case.
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As grounds therefore, the City states:

      1. As the Court is undoubtedly aware, recent national events have brought to

the forefront of the national consciousness issues regarding topics such as police

reform, police brutality, institutional racism, systemic racism, and similar such

issues. Furthermore, local and national media have heavily reported on a number of

BPD-related issues in recent months.

      2. The Court should enter an order precluding Plaintiff from attempting at trial

to present evidence on these and similar topics. Such topics must be excluded because

they are irrelevant to Plaintiff’s claim of discrimination, hostile work enviorment, or

retaliation. None of the matters in the news relate to Plaintiff’s claims.

      3. Even were such evidence somehow relevant, it should be precluded under

Fed. R. Evid. 403. Rule 403 provides that relevant “evidence may be excluded if its

probative value is substantially outweighed by the danger of unfair prejudice,

confusion of the issues, or misleading the jury, or by considerations of undue delay,

waste of time, or needless presentation of cumulative evidence.”        On that note,

Plaintiff has not identified any documentary evidence or witnesses in discovery

related to these news items and for her to now present evidence on these matters

would be highly prejudicial.

      4. Allowing Plaintiff at trial to delve into volatile, hot-button topics involving

police reform and racism generally and BPD news items specifically would raise the

very issues of unfair prejudice, jury confusion and misleading the jury that Rule 403



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is designed to prevent. It would also unnecessarily prolong the trial of this case. Such

evidence should be excluded from trial.

          5.   In addition, Plaintiff disclosed as trial exhibits the Barao Report, which

consists of a study wherein Dr. Barao surveyed a number of Boston Police employees

regarding their feeling surrounding gender equality within the department. The

report contains data from those surveys and anecdotal quotations from Boston Police

Department Employees. Through the data gathered and the stories of unnamed

Boston Police Employees, Barao renders an opinion that female employees of the

Boston Police Department will “never be treated as equal.” See Hassel expert report

at p.8.

          6.   The Budd report was produced by Mayor Martin J. Walsh’s Police

Reform Taskforce. The report provides proposed reforms for the Boston Police

Department to implement, ranging from the formation of an independent oversight

panel to the creation of a public records bureau. Among the suggested reforms, are

suggestions regarding the hiring, promotion and retention of diverse employees.

          7.   At its core, the use of the Barao and Budd reports at trial would only

serve to place inadmissible hearsay statements before the jury. Indeed, the Barao

report contains numerous uncorroborated and unattributed anecdotes regarding the

experience of other female employees of the Boston Police Department – experiences

which Plaintiff would be offering for the truth, but which would not be subject to

cross-examination. The Budd Report contains statistics regarding diversity within

the department and a recommendation that a diversity officer be put in place to



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manage the retention and promotion of diverse employees. The above-referenced

reports constitute inadmissible hearsay and plaintiff has not, and cannot, proffer a

permissible purpose for their admission. The Barao and Budd reports should be

excluded. See Jones ex rel. U.S. v. Massachusetts Gen. Hosp., 780 F.3d 479, 494 (1st

Cir. 2015) (holding that an appendix to expert report constitutes inadmissible

hearsay evidence). The Defendants have not had an opportunity to cross-examine

either of the witnesses on the substance of their reports or to cross-examine.

      8.     Both through expert disclosures and proffered exhibits, plaintiff

attempts to paint a picture that the Boston Police Department was rife with sexism

and discrimination at the time the Plaintiff alleges that she was subject to retaliatory

hostile work environment. In sum, what Plaintiff would seek to show through the

data and anecdotes of the Barao report and the suggested reforms of the Budd report

is simple - because anonymous female employees of the Boston Police Department

have endorsed gender equality issues within the department and because a

commission tasked with effectuating police reform suggested diversity issues exist

within the Department - the Defendants must have discriminated against the

Plaintiff in this case. This is hornbook improper propensity evidence which is not

being offered for any permissible purpose under Fed. R. Evid. 404(b). See Becker v.

ARCO Chem. Co., 207 F.3d 176, 192 (3d Cir. 2000) (finding trial court erred in

admitting evidence of unrelated alleged discriminatory conduct where plaintiff failed

to show a causal chain that would suggest other discriminatory acts were probative

of defendant’s intent). Thus, the Barao and Budd Reports should be excluded.



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      9.     Absent a proper witness, neither report can be authenticated by

Plaintiff, which precludes their admission.

      WHEREFORE, the City requests that the Court issue an order excluding any

and all testimony, documentary evidence and argument at trial by Plaintiff regarding

topics involving police reform and recently reported news items regarding BPD, and

all similar such evidence, including the Barao and Budd Reports.


Dated: September 29, 2019                     Respectfully submitted:

                                              CITY OF BOSTON

                                              By its attorneys:

                                              HENRY C. LUTHIN
                                              Corporation Counsel

                                              /s/ Nieve Anjomi
                                              Erika P. Reis (BBO#669930)
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                            L.R. 7.1 CERTIFICATION

      On September 23, 2021, counsel for Defendant, Nieve Anjomi, conferred with
counsel for Plaintiffs in a good faith effort to resolve or narrow the issues.

                                              /s/ Nieve Anjomi
                                              Nieve Anjomi




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                           CERTIFICATE OF SERVICE

      I, Nieve Anjomi, hereby certify that a true copy of the above document will be
served upon all parties of record via this court’s electronic filing system and upon any
non-registered participants via first class mail on the date listed below.

Dated: September 29, 2021                      /s/ Nieve Anjomi
                                               Nieve Anjomi




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